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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY



     IN RE: JOHNSON & JOHNSON                     Civil Action No. 3:16-md-2738-
     TALCUM POWDER PRODUCTS                       FLW-LHG
     MARKETING, SALES
     PRACTICES, AND PRODUCTS
     LIABILITY LITIGATION                         MDL No. 2738



    THIS DOCUMENT RELATES TO ALL CASES

                CERTIFICATION OF MICHELLE A. PARFITT, ESQ.
                     REGARDING REPLACEMENT FILING

          I, Michelle A. Parfitt, Esq., hereby certify as follows:

          1.     I am an attorney at law and member of the law firm of Ashcraft &

    Gerel, LLP. I was appointed as Co-Lead Counsel to represent all Plaintiffs in the

    above-captioned matter.

          2.     I submit this certification based on personal knowledge in support of

    The Plaintiffs’ Steering Committee’s Memorandum of Law in Response and

    Opposition to J&J’s Conditional Motion to Exclude Certain Plaintiffs’ Experts’

    Opinions.

          3.     This memorandum replaces a previously-filed version (CM/ECF

    9870), which was filed under seal in error.
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          4.    While this memorandum is not and should not have been filed under

    seal, certain exhibits accompanying this memorandum will be filed under seal.

          5.    I certify that the foregoing statements made by me are true. I am

    aware that if any of the foregoing statements made by me are willfully false, I may

    be subject to punishment.



                                          Respectfully submitted,

    Date: May 29, 2019                    /s/ Michelle A. Parfitt
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